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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


MAZZONI CENTER and                           :
1334-48 BAINBRIDGE STREET LLC                :
                                             :
                       Plaintiffs,           :
                                             :       CASE NO. 24-5921-KSM
       v.                                    :
                                             :
LCF GROUP, INC., AKF, INC.                   :
d/b/a FUNDKITE, ALEKSANDER                   :
SHVARTS, ROBERT KLEIBER,                     :
ANDREW PARKER, AND JOHN                      :
AND JANE DOES,                               :
                                             :
                       Defendants.           :
                                             :

     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Mazzoni Center and

1334-48 Bainbridge Street, LLC hereby give notice that this action is voluntarily dismissed.

Defendants have not served an answer or motion for summary judgment in this action.

Accordingly, Plaintiffs notice voluntary dismissal of this action without prejudice. See Fed. R.

Civ. P. 41(a)(1)(B).



                                                 Respectfully submitted,

   Dated: November 27, 2024                      /s/ Geoffrey D. Bruen
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                                                 Attorney for Plaintiffs
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 27th day of November 2024, I caused the
foregoing Notice of Voluntary Dismissal to be filed via ECF and that the below individuals are
filing users under the ECF system and have entered their appearance on behalf of Defendants as
noted. Upon the electronic filing of a pleading or other document, the ECF system will
automatically generate and send a Notice of Electronic Filing to all filing users associated with
this case. Electronic service by the Court of the Notice of Electronic Filing constitutes service of
the filed document and no additional service upon the filing user is required.


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